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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                        *
                                                 *
        v.                                       *     CRIMINAL NO. 23-cr-257 (TSC)
                                                 *
 DONALD J. TRUMP,                                *
                                                 *
                Defendant.                       *
                                                 *

           GOVERNMENT’S REPLY IN SUPPORT OF OPPOSED MOTION
         FOR FORMAL PRETRIAL NOTICE OF THE DEFENDANT’S INTENT
                TO RELY ON ADVICE-OF-COUNSEL DEFENSE

       The defendant and his counsel have stated clearly, repeatedly, and publicly that he intends

to raise an advice-of-counsel defense in this case. Accordingly, to avoid disruption and delay in

advance of and during trial, the Government moved the Court to set a reasonable deadline by which

the defendant must provide formal notice of his intent to rely on an advice-of-counsel defense, and

to disclose evidence relevant to the defense. In response, the defendant concedes that the records

and witnesses relevant to such a defense are potentially extensive—meaning that a delay in

declaring it could derail the Court’s pretrial and trial schedule—but he tries various tacks to

postpone or avoid what fairness and efficiency require. On the final page of his response, the

defendant offers to provide notice on January 15, 2024, but suggests that the Court should only

then “solicit briefing to determine a reasonable schedule for [the defendant]’s production of

relevant materials.” His proposal is unworkable and will risk substantial delay and disruption.

The Court should, instead, require him to provide formal notice of an advice-of-counsel defense

and identify and produce any discovery relevant to proving or undermining it by December 18,

2023, the date by which the parties are required to provide their exhibits.
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   I.      The Court Has Inherent Power to Set a Reasonable Notice and Disclosure
           Deadline.

        The defendant claims that any requirement that he provide reasonable notice of his intent

to mount an affirmative advice-of-counsel defense would be unconstitutional or otherwise

unlawful. See ECF No. 112 at 6-9. Not so. It is undisputed that courts in this District have found

and exercised their inherent power to order pretrial notice and disclosure of an advice-of-counsel

defense. See United States v. Stewart Rhodes, 22-cr-15, ECF No. 318 (D.D.C. Sept. 15, 2023);

United States v. Crowder 325 F. Supp. 3d 131 (D.D.C. 2018). To the extent the defendant

mentions additional cases beyond those already cited and distinguished in the Government’s initial

motion, ECF No. 98 at 5-7, those cases are inapposite, distinguishable, or not instructive. Several

declined to require notice on the basis that the government had provided no support for the request.

See United States v. Espy, 1996 WL 560354, at *1 (E.D. La. Oct. 2, 1996); United States v.

Faulkner, 2011 WL 976769, at *3 (N.D. Tex. Mar. 21, 2011). One case involved a defendant who

disclaimed he would rely on any such defense. See United States v. Shea, 2022 WL 1598189, at

*1 (S.D.N.Y. May 20, 2022). Another case relied on by the defendant for the proposition that

some courts reject a request for pretrial notice held just the opposite, requiring the defendant to

file a pretrial motion if he wished to assert an advice-of-counsel defense. See United States v.

Crinel, 2016 WL 6441249, at *12 (E.D. La. Nov. 1, 2016). And although the court in United

States v. Alessa, 561 F. Supp. 3d 1042, 1049 (D. Nev. 2021), aligned itself with those courts that

have not required pretrial notice of an advice-of-counsel defense, it relied on factors not present in

this case and ultimately concluded that the request was “entirely within the Court’s discretion.”




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   II.       The Court Should Order the Defendant to Provide Notice and Disclosure on
             December 18, 2023.

         The date that the Government proposed for the defendant to provide notice and disclosure

related to an advice-of-counsel defense—December 18, 2023—is fair and reasonable because the

defendant has already publicly announced his intent to mount such a defense, and because by that

date he is required to disclose any related trial exhibits and thereby waive his attorney-client

privilege.

         The defendant now claims that he requires substantial time to review the Government’s

discovery to assess whether to pursue an advice-of-counsel defense, ECF No. 112 at 2-3, but he

announced his decision to rely on this defense before any discovery was produced. As previously

detailed, ECF No. 98 at 1-3, starting on the very day the indictment was returned on August 1,

2023, and for days following, the defendant’s lead counsel repeatedly stated publicly that the

defendant would rely on an advice-of-counsel defense. While the defendant now insists that he

provided no more than “a mere indication” of the defense, ECF No. 112 at 2 n.1, that claim is

belied by his counsel’s actual words, which were clear, specific, and in response to questions about

the defense and legal strategy. Moreover, counsel’s words were echoed weeks later by the

defendant himself, ECF No. 98 at 3, further underscoring that the decision already had been made

to rely on this defense. Accordingly, there is no reason to delay providing the notice until January.

         Further, the December 18, 2023, date makes sense because it is the date that the parties’

exhibit lists are due. Given what is required for the defendant to make out this defense at trial, see

United States v. White, 887 F.2d 267, 270 (D.C. Cir. 1989) (setting forth the evidence the defendant

must offer in support of the defense), it is difficult to imagine that the defendant could rely on it

without offering any exhibits in support, particularly since the defendant’s counsel already has

specifically identified a “very detailed memorandum from a constitutional expert” that he says will



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buttress it. ECF No. 98 at 12. Since the defendant will need to identify any exhibits he intends to

offer in support of the defense by December 18, 2023, there is no reason to delay providing notice

beyond that date.

         The defendant does not dispute that once he relies on an advice-of-counsel defense, he

waives attorney-client privilege as to all communications concerning the defense. See White, 887

F.2d at 270. When the defendant indicates his intent to rely on such a defense, therefore, it is

necessarily with the understanding that the privilege will be waived for communications

supporting and undermining the defense, and there is no reason to withhold disclosure of any

relevant materials from the Government thereafter. For this reason, courts that have ordered

pretrial notice of the advice-of-counsel defense have also ordered disclosure. See ECF No. 98 at

4 (citing cases). Notice without disclosure is meaningless and runs a substantial risk of disrupting

the pretrial and trial schedule.

        Moreover, fairness and efficiency require that disclosure be provided along with the notice.

The defendant concedes that pretrial disclosure will promote efficiency, ECF No. 112 at 9, and

that “the records and witnesses relevant to this issue are ‘potentially extensive,’” id. at 11. For

these reasons and those set forth in detail in the Government’s initial motion, ECF. No. 98 at 11-

14, the advice-of-counsel defense is likely to require additional investigation, discovery, and

pretrial litigation. Because any such defense likely will involve multiple lawyers, arise in opening

statements and the Government’s case-in-chief, and require decisions regarding the scope of the

defense and admissibility of evidence, it is essential that disclosure occur at the time that the

defendant provides notice of the defense. If the defendant notices such a defense, there is good

reason to question its viability, especially because in the time since the Government filed its motion

three charged co-defendant attorneys pleaded guilty to committing crimes in connection with the




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2020 election. 1 See United States v. West, 392 F.3d 450, 456-57 (D.C. Cir. 2004) (“The defense

of advice of counsel necessarily fails where counsel acts as an accomplice to the crime.”). At the

very least, those guilty pleas highlight the complications that may arise if the defendant should

assert an advice-of-counsel defense and underscore the need to resolve all issues well before the

start of trial. If disclosure is delayed, it may result in disruption to the trial schedule.

        The defendant contends that certain reciprocal discovery should be required if he is to make

his own disclosure. See ECF No. 112 at 11-12. The Government has already provided what the

defendant now seeks. For example, the defendant demands the production of privilege logs

showing documents withheld by witnesses under a claim of privilege attributable to the defendant

or his campaign, see ECF No. 112 at 11, but the Government already has provided them. 2 Next,

the defendant demands materials that the Government does not have. For instance, he asks the

Government to identify any “materials within their discovery production that they assert are

attorney-client privileged information.” ECF No. 112 at 11. But if the material were privileged

as to the defendant, the Government would not possess it. To the extent the defendant believes

that the Government is in possession of additional discovery materials that could bear on this issue,

the Government has repeatedly advised counsel that it is willing to confer on such requests. And

with respect to further investigation that the Government might pursue to rebut an advice-of-

counsel defense, see ECF No. 112 at 9 n.6, the Government recognizes its continuing discovery

obligations under Rule 16, Brady, Giglio, and the Jencks Act.



        1
                https://www.ajc.com/politics/fourth-defendant-negotiates-plea-deal-with-fulton-
prosecutors/S3SO4MZ3MBGCJD6YD47ZE4MYQE/
        2
         Earlier today, the Government sent the defendant a discovery letter directing him to these
materials in the Government’s previous discovery productions, including custodians, Bates
numbers, and dates of production. The transmittal also provides a few additional privilege logs
that the Government identified in the course of its quality control review of its holdings.


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          In a footnote on the final page of his response, ECF No. 112 at 13 n.7, the defendant

suggests that he may seek to obtain the benefit of an advice-of-counsel defense without actually

invoking it, without disclosing the relevant evidence in his possession ahead of time, and without

waiving his privilege so that the Government can challenge the validity of the defense. The Court

should reject his attempt to circumvent the requirements and costs associated with the assertion of

this affirmative defense and make clear that a decision to forego an advice-of-counsel defense will

place limitations on the defendant’s use of certain evidence and arguments at trial. See White, 887

F.2d at 270; United States v. Gray-Burriss, 920 F.3d 61, 66 (D.C. Cir. 2019); Rhodes, 22-cr-15,

ECF No. 318 at 3 (“The court may preclude a defendant from asserting an advice-of-counsel

defense if they fail to provide the notice required by this Order.”). 3 The defendant’s proposed end-

run around the appropriate process associated with the advice-of-counsel defense is unsupported

and would create a substantial risk of disruption during trial.

   III.        Conclusion

          The Court should not allow the defendant to withhold formal notice of his already-

announced affirmative defense until January and then proceed to withhold related and required

discovery for several additional weeks. To prevent disruption and delay, the Court should exercise

its discretion to require the defendant to provide notice of his intent to advance an advice-of-

counsel defense, and related discovery, on December 18, 2023.




          3
         To the extent the defendant suggests that he can support an advice-of-counsel defense
without waiving the privilege and disclosing information that undermines it, simply by limiting
his exhibits to anything in the “prosecution’s productions of attorney communications,” ECF No.
112 at 13—which includes communications obtained by court order requiring the production of
material claimed to be privileged, and which may far exceed any evidence introduced in the
Government’s case-in-chief—no cited case supports such a theory.


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                                   Respectfully submitted,

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